                          DECISION OF DISMISSAL
This matter is before the court on Defendant's motion to dismiss, filed September 15, 2008, as part of its Answer, requesting that Plaintiff's Complaint be dismissed.
At the case management conference held Monday, October 27, 2008, Plaintiff's representative, Ramzy Fakhoury, President of Haya Enterprises, stated that Plaintiff did not file its appeal within 90 days of the date (August 14, 2007) of Defendant's notice of disqualification of Plaintiff's property from farm use special assessment. Based on Plaintiff's representative's admission, Defendant's motion to dismiss is granted. Plaintiff will apply for farm use special assessment of its property. Now, therefore,
IT IS THE DECISION OF THIS COURT that this matter be dismissed.
If you want to appeal this Decision, file a Complaint in the RegularDivision of the Oregon Tax Court, by mailing to: 1163 State Street,Salem, OR 97301-2563; or by hand delivery to: Fourth Floor, 1241 StateStreet, Salem, OR.
 Your Complaint must be submitted within 60 days after the date of theDecision or this Decision becomes final and cannot be changed.
 This document was signed by Presiding Magistrate Jill A. Tanner onOctober 28, 2008. The Court filed and entered this document on October28, 2008. *Page 1 